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                    UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF NEW YORK
__________________________________________
COLLIN TRELLY,
                                           Plaintiff,
                                                                 DECISION AND ORDER
-vs-
                                                                 13-CV-6248 CJS
DEPUTY SHERIFF GEIGER,
                                           Defendant.
__________________________________________

                                      INTRODUCTION

        Collin Trelly (“Plaintiff”), who was formerly incarcerated in the Monroe County Jail

(“the Jail”), alleges that Deputy Sheriff Geiger (“Defendant” or “Geiger”), while employed

as a corrections officer at the Jail, violated his Eighth Amendment right to be free from

cruel and unusual punishment. Now before the Court is Geiger’s motion for summary

judgment. (Docket No. [#31]). The application is granted.

                                      BACKGROUND

        Plaintiff’s Complaint in this action alleges that Geiger violated his Eighth Amendment

rights in the following manner:

        That on or about the 20th day of September, 2011, in the County of Monroe
        . . . Plaintiff was an inmate at the Monroe County Jail and Defendant, Deputy
        Geiger[,] was employed as a guard at the Monroe County Jail. That at said
        time and place, Defendant Geiger, through verbal threats and abuse and the
        physical action of approaching the Plaintiff, placed the Plaintiff in fear of
        imminent forceful, harmful contact[.]
                                                ***
        That [at the same time and place,] Defendant Geiger intentionally and
        wrongfully held Claimant down on his bed; placed his hand around Plaintiff’s
        neck choking the Plaintiff and cutting off his air supply all without the
        Plaintiff’s consent.
                                                ***

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       That Defendant Deputy Geiger while acting under the color of state law . . .
       deprived the Plaintiff of . . . his right to be free from cruel and unusual
       punishment[.]

Complaint ¶ ¶ 7, 8, 13.

       Generally, the facts viewed in the light most-favorable to Plaintiff, are as follows.

On September 20, 2011, Plaintiff was assigned a cell in the Monroe County Jail, and

Geiger, in his capacity as Jail Deputy, was assigned to work in Plaintiff’s housing unit. At

approximately 10:30 p.m. on that date, Plaintiff was locked into his cell for the night, and

had partially covered his cell’s light with a piece of paper, because he felt that the light was

too bright. While performing his rounds, Deputy Geiger told Plaintiff to remove the paper

from the light. Plaintiff indicated that he would comply with the demand, but then fell

asleep before removing the obstruction. Later, at approximately 11 p.m., Geiger returned,

and observed that the paper was still covering Plaintiff’s cell light. Once again, Geiger

ordered Plaintiff to remove the paper. Plaintiff indicates that Geiger kicked his cell door,

then screamed and swore at him. Plaintiff responded that he “didn’t understand what the

big deal was, but [he nevertheless] got up and took the cardboard down [from the light].”1

Plaintiff maintains that Geiger continued to yell at him, whereupon Plaintiff “called [Geiger]

a cocksucker.”2 According to Plaintiff, Geiger then angrily entered the cell, approached him

as he sitting up in the bunk, grabbed his throat with one hand and pushed him down onto

the bed, and yelled profanities and threats at him, before exiting the cell.

       The day after the incident, Plaintiff filed a written complaint against Geiger. In


       1
        Trelly Aff. at ¶ 4.

       2
        Trelly Aff. at ¶ 4.

                                               2
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connection with the investigation of Plaintiff’s complaint, on September 22, 2011,

Lieutenant DiMartino drafted a report detailing his investigation into Plaintiff’s allegations.

In pertinent part, DiMartino wrote: “I asked inmate Trelly how hard Deputy Geiger had

choked him. He responded that it was hard enough that he had trouble breathing and

could not speak.”3

       On July 13, 2012, Plaintiff testified at an examination pursuant to New York General

Municipal Law § 50-h, whereupon he described the incident inside the cell in pertinent part

as follows:

       As I was lying back down, he opened up the cell and then stormed in and
       shit, and he was yelling like pretty much just names and shit. He was like,
       “You need to get some respect. I don’t know who the fuck you think you
       are.” He said, “You’re nothing,” and then grabbed me by the neck as I’m
       lying down, pushes me down until it hits my face and continued screaming.
       . . . [He was yelling and screaming that] I need to learn my place and so as
       I’m told and that I’m a piece of shit, a faggot and – I don’t know. I guess he
       was expecting something more out of me, but I just laid there, so he kind of
       gave up.

Docket No. [#31-2] at p. 17(Transcript p. 20). Later during that examination, Plaintiff

testified concerning his injuries, as follows:

       Q. Did you have any marks, bruises, abrasions, cuts or anything else as a
       result of that?
       A. After the incident was done, yeah, for – maybe a day at most.
       Q. What did you have?
       A. Just like red, kind of like light bruises. That was it.
       Q. Where?
       A. On the neck.


       3
       Docket No. [#33-5] at p. 8.

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         Q. Which side of your neck?
         A. It was – I guess if it was with his right hand, then the left side.
         Q. And they lasted about a day?
         A. At the most, yeah.
         Q. Did you ask for any medical treatment after this incident occurred?
         A. I didn’t ask for medical treatment, no.


Docket No. [#31-2] at 19.

         On December 19, 2012, Plaintiff commenced this action, in New York State

Supreme Court, Monroe County, against Monroe County, the Monroe County Sheriff, and

Deputy Geiger. On May 15, 2013, Defendants removed the action to this Court.

         On or about May 8, 2013, Defendants filed an Answer to the Complaint. The

Answer includes fifteen separate affirmative defenses. (Docket No. [#1] at pp. 15-20).

None of those affirmative defenses pertained to 42 U.S.C. § 1997e(a), which requires

inmates of jails and prisons to exhaust their administrative remedies before commencing

any action under federal law “with respect to prison conditions.”4

         On November 26, 2013, the Honorable Jonathan W. Feldman, United States

Magistrate Judge, issued a Scheduling Order [#8], directing, inter alia, that all motions to

amend pleadings be filed and served by April 14, 2014. Defendants never moved to

amend the Answer or requested an extension of that deadline.

         On July 24, 2014, Defendants filed a motion [#11] for judgment on the pleadings.

Defendants asserted various grounds for relief, including statute of limitations and qualified




         4
          See, 42 U.S.C.A. § 1997e(a) (“No action shall be brought with respect to prison conditions under section
1983 of this title, or any other Federal law, by a prisoner confined in any jail, prison, or other correctional facility until
such administrative remedies as are available are exhausted.”).

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immunity, but did not address whether the alleged use of force was sufficient to state a

constitutional claim. On September 12, 2014, Plaintiff filed his response [#16] to that

motion. As part of that response, Plaintiff moved for leave to amend the Complaint, if

necessary, to address any deficiencies in the pleading identified by Defendants’ Motion for

Judgment on the Pleadings. Defendants opposed that request. See, Defendants’ Reply

[#18] at ¶ p. 3, ¶ 10 (“The time for Plaintiff to amend his pleadings has expired and leave

to amend the Complaint should be denied.”).

       On February 4, 2015, the Court issued a Decision and Order [#20] granting

Defendants’ motion in part, and dismissing all claims except the 8th Amendment excessive

force claim against Geiger. As part of that Decision and Order, the Court denied Plaintiff’s

motion to amend the Complaint, stating:

       Plaintiff has not submitted a proposed amended pleading, as required by
       Local Rule of Civil Procedure 15(a) & (b). Nor, in light of [Magistrate] Judge
       Feldman’s Scheduling Order [#8], has Plaintiff attempted to show “ good
       cause” for the late application to amend. See, e.g., Chart v. Town of Parma,
       No. 10-CV-6179P, 2012 WL 3839241 at *2-3 (W.D.N.Y. Aug. 28, 2012)
       (denying a cross motion to amend, made in response to a motion to dismiss,
       and made after the court ordered deadline for amending pleadings, where
       the movant-plaintiff failed to show good cause as required under Rule 16).
       Accordingly, Plaintiff’s request to amend is denied.

Decision and Order [#20] at p. 7.

       Thereafter, between 2015 and 2017, the parties represented to the Court that they

were engaging in discovery. In that regard, on May 28, 2015, the Court granted [#21] the

parties’ stipulated request to complete all discovery by July 29, 2015, and to file dispositive

motions by October 27, 2015. Subsequently, the parties asked for, and received, nine (9)

additional extensions of the deadlines for completing discovery and for filing dispositive

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motions. (See, Scheduling Orders [#22-30]). Some of those extensions were requested

by Plaintiff, and some were requested by Defendant, but all of the requests were made with

the consent of the opposing party. Moreover, in connection with all such requests for

extensions, counsel represented to the Court that discovery was ongoing. Neither party

ever suggested that the other party was refusing to provide discovery, or was otherwise

failing to prosecute the action.

       During discovery in this action, Plaintiff testified at deposition about Geiger’s actions

inside the cell, as follows:

       [H]e continued yelling [outside the cell]. So I called him a name, I called him
       a cocksucker back. I went to my bunk to lay down, and he asked the other
       officer for the keys. He came into the cell. I’m kind of like sitting up in the
       bed, because he’s coming in. He grabs me by the neck, pushes me down
       onto the bunk, screaming in my face, telling me like I don’t know who you
       think you are, you need – I don’t know, do as you’re told, just profanities,
       calling me a faggot, piece of shit. And you know, I had figured he was done,
       out of steam, and then he told me to do whatever you can do to get out of
       here.

Docket No.[31-2] at p.28. Specifically regarding Geiger grabbing his neck, Plaintiff further

testified as follows:

       Q. Can you describe the physical contact that he had with you?
       A. Choked me.
       Q. And how was he choking you?
       A. I don’t know what you mean by that.
       Q. Was he grabbing you with one hand, two hands?
       A. With one hand.
       Q. Do you know what hand?
       A. I’m not even sure. It was just so long ago.
       Q. Do you know what he was doing with his other hand?

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       A. Pointing it at me. Screaming.
                                                 ***
       Q. I’m assuming that because you said he was choking you that he was
       grabbing your neck?
       A. Yes.
       Q. What part of your neck was he grabbing?
       A. Just the base, I guess. I don’t know. In the middle of it.
       Q. How long did the physical contact last?
       A. It wasn’t long. Maybe a minute at the most.
                                                 ***
       Q. Did you lose consciousness?
       A. No.
       Q. Did you get any bruising as a result of the choking?
       A. There was marks, yes.
       Q. When you say marks, what kind of marks were they?
       A. Light bruising, just red, irritated.
                                                 ***
       Q. What happened after he released you?
       A. He just left the cell. And I laid in bed and went to sleep.


Docket No. [#31-2] at pp. 28-31.

       On July 17, 2017, Deputy Geiger filed the subject motion [#31] for summary

judgment, on the following grounds: 1) Plaintiff has failed to prosecute this action; 2)

Plaintiff failed to exhaust his administrative remedies as required by 42 U.S.C. § 1997e(a)

before commencing this action; 3) Plaintiff has not shown that a constitutional violation

occurred, even when viewing the facts in the light most-favorable to him; and 4) Geiger is

entitled to qualified immunity. Concerning Plaintiff’s alleged failure to prosecute this action,

Geiger contends that Plaintiff disregarded an Order [#8] directing him to make Rule 26

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disclosures, and never conducted depositions. With regard to Plaintiff’s alleged failure to

exhaust administrative remedies, Geiger contends that Plaintiff did not comply with the

Complaint/Grievance procedures set forth in the Monroe County Jail’s Inmate Handbook.5

With regard to the legal sufficiency of Plaintiff’s § 1983 claim, Geiger contends that verbal

threats are insufficient to create a constitutional violation, and that the alleged injuries to

Plaintiff’s neck are de minimis and not actionable. As to this contention, Geiger has

submitted photographs of Plaintiff taken two days after the incident, which, Plaintiff agrees,

show no injuries to Plaintiff’s neck.6 Finally, Geiger maintains that even if he committed a

constitutional violation,7 he is entitled to qualified immunity because he would have had “no

reason to believe that he was [acting] in violation of Plaintiff’s constitutional rights[.]” In

particular, Geiger asserts that, “Plaintiff alleges that Deputy Geiger placed his hand[ ]

around Plaintiff’s neck and held him down[, but] . . . if reasonable officers could disagree

as to whether a particular amount of force is legal under certain circumstances, the officer

is entitled to qualified immunity[, and here] . . . the incident lasted but for a few seconds

and Plaintiff suffered no observable injury[.]”8

         On August 31, 2017, Plaintiff filed a response [#33], opposing each aspect of

Geiger’s motion. With regard to the alleged failure to prosecute, Plaintiff responds that he

did not disobey the Order [#8] to produce Rule 26 discovery materials, because he has no


         5
          Without specifically stating so, Geiger’s motion implies that § 1997e(a) affects the Court’s jurisdiction. See,
Def. Memo of lLaw [#31-7] at pp. 8-9. As discussed further below, § 1997e(a)’s exhaustion requirement is an
affirmative defense, not a jurisdictional bar.

         6
             See, Docket No. [#31-5],Comanzo Aff., Ex. B; see also, Docket No. [#33-2], Pl. Local Rule 56.2 Response,
¶ 26.
         7
             Geiger denies that he ever touched Plaintiff during the incident. Docket No. [#31-3] at p. 3, ¶ ¶ 19, 24.

         8
             Def. Memo of Law [#31-7] at p. 14.

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such materials to provide. As for the alleged delays in the case, Plaintiff contends that

both sides have been responsible for delays, and that prior to Defendant’s summary

judgment motion, Defendant’s counsel never voiced any objection to the delays. Plaintiff

maintains, therefore, that Defendant’s attempt to now have the action dismissed for failure

to prosecute actually violates the Court’s Civility Principles, since Defendant’s counsel

never attempted to address the situation informally before filing the motion.

         Plaintiff further contends that Defendant waived the § 1997e(a) affirmative defense

by failing to include it in the Answer. Plaintiff maintains that, in any event, he exhausted

his administrative remedies by utilizing the remedies that were available to him at the

Monroe County Jail.9 Plaintiff further states that the Jail obviously received notice of his

complaint, since the complaint caused the Monroe County Sheriff’s Office to conduct an

internal affairs investigation into the incident.

         Plaintiff further maintains that Geiger choked him and interfered with his breathing,

which is sufficient both to establish a constitutional violation and to prevent Geiger from

obtaining qualified immunity.10 On this point, Plaintiff states, in pertinent part:

         Deputy Geiger then entered my cell while he continued to scream and swear
         and grabbed me by the throat and squeezed interfering with my ability to
         breathe. He was calling me names including “a nothing” “a piece of shit” and
         “a faggot.” He then threatened me by saying “You better do something to get
         off this floor by tomorrow” and left my cell. I was never aggressive or
         threatening to Deputy Geiger in any way and I did not resist him in any way.


         9
          See, Trelly Aff. at ¶ 10 (“ I initiated a complaint about the incident to the day shift deputy the next day and I
wrote out a complaint on the Jail’s correspondence form. No one responded the next day so I asked again. I then
‘mailed’ my complaint even though I was told it would ‘just sit there.’ On the second day they took the pictures [of
my neck], took me to a nurse, [and] had a lieutenant interview me about the incident. . . . I gave the lieutenant a
statement which he appeared to write down. I don’t recall signing it or ever seeing it after that. To this date I have
never been officially notified of the results, if any, of my complaint.”).

       10
          Plaintiff contends that Geiger’s actions violated both the Monroe County Sheriff’s own regulations and
New York Penal Law § 121.11, “Criminal obstruction of breathing or blood circulation.”

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       I just laid in my bed the whole time.11

Plaintiff reiterates that as a result of the incident, he had “red marks and light bruising on

[his] neck where Deputy Geiger choked [him] that faded away after about a day,” but did

not seek medical treatment. Plaintiff further argues that

       [t]he wanton and unnecessary physical attack on the Plaintiff cannot be
       considered de minimis because the Defendant clearly obtained the keys from
       another deputy and entered the Plaintiff’s cell to administer cruel pain upon
       the Plaintiff at a time when the Plaintiff was not posing a physical threat to
       any person or property; was not creating a disorderly situation in the jail that
       required physical intervention, or physically resisting lawful confinement or
       movement within the facility. He was only laying on his bed and had called
       the Defendant a profane name. The Defendant’s actions were clearly meant
       to administer his own brand of physical punishment motivated only by his
       own anger without any pretense of authority. The fading of the red marks
       and bruises and the lack of lasting physical injury do not preclude the
       Plaintiff’s claim as a matter of law. It would be unconscionable to conclude
       that such criminal violence is not worthy of consideration in a constitutional
       context.

Pl. Memo of Law [#33-6] at pp. 10-11.

       On September 21, 2017, Geiger filed a reply [#34] that repeats the points in his

initial memorandum of law [#31-7]. Additionally, Geiger requests leave to amend his

Answer, to assert the affirmative defense of failure to exhaust administrative remedies

under 42 U.S.C. § 1997e(a).

       On January 18, 2018, counsel for the parties appeared before the undersigned for

oral argument. Following oral argument, the Court provided the parties an opportunity to

supplement their submissions concerning whether Geiger’s alleged use of force is



        Trelly Aff. at ¶ 5.
       11



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sufficient to establish a constitutional violation.12 The Court has thoroughly reviewed and

considered the parties’ submissions.

                                                DISCUSSION

        Rule 56

        Defendant has moved for summary judgment pursuant to Fed. R. Civ. P. 56.

Summary judgment may not be granted unless "the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter

of law.” Fed.R.Civ.P. 56(a). A party seeking summary judgment bears the burden of

establishing that no genuine issue of material fact exists. See Adickes v. S.H. Kress & Co.,

398 U.S. 144, 157, 90 S.Ct. 1598, 26 L.Ed.2d 142 (1970). “[T]he movant must make a

prima facie showing that the standard for obtaining summary judgment has been satisfied.”

11 Moore's Federal Practice, § 56.11[1][a] (Matthew Bender 3d ed.). “In moving for

summary judgment against a party who will bear the ultimate burden of proof at trial, the

movant may satisfy this burden by pointing to an absence of evidence to support an

essential element of the nonmoving party's claim.” Gummo v. Village of Depew, 75 F.3d

98, 107 (2d Cir.1996) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 322–23, 106 S.Ct.

2548, 91 L.Ed.2d 265 (1986)), cert denied, 517 U.S. 1190 (1996).

        The burden then shifts to the non-moving party to demonstrate “specific facts

showing that there is a genuine issue for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 250, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986). To do this, the non-moving party must

present evidence sufficient to support a jury verdict in its favor. Anderson, 477 U.S. at 249.


           12
             On January 22, 2018, the Court’s Law Clerk emailed counsel and invited them to submit additional case
authority on this point by the end of the day on January 23, 2018. Plaintiff’s counsel submitted a supplemental
letter brief, while Defendants’s counsel chose to rely on her prior submissions.

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The underlying facts contained in affidavits, attached exhibits, and depositions, must be

viewed in the light most favorable to the non-moving party. U.S. v. Diebold, Inc., 369 U.S.

654, 655, 82 S.Ct. 993, 8 L.Ed.2d 176 (1962). Summary judgment is appropriate only

where, “after drawing all reasonable inferences in favor of the party against whom

summary judgment is sought, no reasonable trier of fact could find in favor of the non-

moving party.” Leon v. Murphy, 988 F.2d 303, 308 (2d Cir.1993).

       Failure to Prosecute

       Geiger has moved to dismiss this action pursuant to Rule 41(b) of the Federal Rules

of Civil Procedure, which states: “If the Plaintiff fails to prosecute or to comply with these

rules or a court order, a defendant may move to dismiss the action or any claim against it.”

       Geiger contends both that Plaintiff failed to obey the Court’s Order [#8] directing the

production of Rule 26 materials by January 13, 2014, and that Plaintiff failed to take

depositions after obtaining extensions of time in which to conduct them.

       Geiger’s arguments lack merit. To begin with, Geiger fails to allege the existence

of any Rule 26 materials that Plaintiff failed to produce, and, in any event, Geiger’s proper

remedy would have been to bring a motion to compel or to preclude. In that regard, the

Order [#8] which Geiger maintains was disobeyed by Plaintiff contains the following

language: “All motions to compel discovery shall be filed at least thirty (30) days prior to

the factual discovery cutoff.” (emphasis added). Geiger never filed such a motion or

otherwise alerted the Court (or Plaintiff’s counsel) to this alleged failure to produce

discovery, but instead, waited three years to make the subject request under Rule 41(b).

       Further, with regard to the alleged delays in the case, Geiger has focused on delays

attributable to Plaintiff’s expressed desire to take depositions, while ignoring the fact that

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he (or his attorneys) also requested several extensions of the discovery deadlines for

various reasons having nothing to do with Plaintiff. See, e.g., Docket Nos. [#24][#25][#26].

In any event, Geiger consented to all such extensions, and Plaintiff’s eventual choice not

to take depositions is a strategic decision that did not violate any order of the Court.

       The request to dismiss the action for failure to prosecute is denied.

       Failure to Exhaust Administrative Remedies

       Geiger next maintains that dismissal is required pursuant to 42 U.S.C. § 1997e(a).

That provision clearly applies to Plaintiff, because he is suing under federal law,

complaining about jail conditions that he experienced while he was an inmate. However,

it is also clear that this statutory exhaustion rule is not a jurisdictional bar, but is an

affirmative defense which can be waived if it is not pleaded. See, Johnson v. Testman, 380

F.3d 691, 695 (2d Cir. 2004) (Failure to exhaust as required by § 1997e(a) is an

affirmative defense that can be waived.); see also, Handberry v. Thompson, 446 F.3d 335,

342-343 (2d Cir. 2006) (Defendants waived PLRA exhaustion defense by waiting three

years to assert it, after previously indicating that the inmate did not need to exhaust).

Generally, such a waiver occurs when a defendant fails to plead the affirmative defense

in his answer. See, e.g., Howard v. City of New York, No. 02-CV-1731 (KMK), 2006 WL

2597857, at *6 (S.D.N.Y. Sept. 6, 2006) (Stating, in context of considering whether the

PLRA exhaustion defense had been waived, that “When an affirmative defense is not

raised in an answer, as required by Rule 8(c) of the Federal Rules of Civil Procedure, it is

waived.”) (citation omitted).

       Of course, even if a defendant does not assert an affirmative defense in his answer,

he may later request permission to amend the answer to assert the defense, such as

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Geiger has done here. However, in a case with facts similar to those presented here, a

district court denied leave to amend, stating:

       Although defendant raised several affirmative defenses in his answer filed
       on September 17, 2001, he did not plead that plaintiff had failed to exhaust
       his administrative remedies as presently required by the Prison Litigation
       Reform Act (“PLRA”), 42 U.S.C. § 1997e(a). . . . Over the next two years,
       the parties engaged in discovery[.] . . . In October 2004, defendant moved
       for summary judgment on the ground that plaintiff failed to exhaust his
       administrative remedies. . . . In his opposition, plaintiff claims, inter alia, that
       defendant waived the affirmative defense by failing to raise it sooner. Now,
       in his reply papers . . . defendant seeks leave to amend his answer to include
       the affirmative defense of failure to exhaust administrative remedies.

       Although defendant has not filed a motion to amend, the Court has the
       discretion to treat defendant's motion for summary judgment as a motion to
       amend his answer to plead the affirmative defense of failure to exhaust. . .
       . Motions to amend pleadings are governed by Fed.R.Civ.P. 15(a), which
       states that leave to amend “shall be freely given when justice so requires.”
       Fed.R.Civ.P. 15(a). Accordingly, leave to amend is generally granted unless
       the amendment: (1) has been unduly delayed; (2) is sought for dilatory
       purposes or is made in bad faith; (3) would cause undue prejudice to the
       opposing party; or (4) would be futile.

       Although [defendant could have raised the PLRA exhaustion defense as
       early as ] February 2002, [he] did not seek leave to amend his answer to add
       the affirmative defense until October 2004. Moreover, defendant never filed
       a motion to amend, but rather moved for summary judgment on the basis of
       an affirmative defense that he did not plead in his answer. Only upon
       receiving plaintiff's opposition papers did defendant seek leave to amend in
       his reply papers. Although defendant has not provided any justification for
       [this delay], delay unaccompanied by undue prejudice or bad faith does not
       usually warrant denial of leave to amend.

       When determining whether the opposing party would suffer undue prejudice,
       courts consider whether leave to amend would: (1) require the opponent to
       expend significant additional resources to conduct discovery and prepare for

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         trial; (2) significantly delay the resolution of the dispute; or (3) prevent the
         plaintiff from bringing a timely action in another jurisdiction.
                                                 ***
         I find that granting the amendment would be prejudicial to plaintiff. If
         defendant were permitted to amend his answer at this late stage of the
         proceedings, plaintiff would be forced to expend additional resources and
         resolution of the action, now pending more than three (3) years, would be
         delayed, and . . . further discovery and additional depositions would be
         needed to determine whether the admitted failure to exhaust should
         nevertheless be excused. See Giano v. Goord, 380 F.3d 670, 675 (2d
         Cir.2004) (noting that “special circumstances” may excuse a prisoner's failure
         to exhaust). Thus, plaintiff would have [to] expend[ ] additional resources on
         motion practice and discovery and resolution of the action would [be] further
         delayed. Accordingly, defendant's motion to amend is denied and the
         affirmative defense is deemed waived.

Bonilla v. Janovick, No. 01-CV-3988 SJF ETB, 2005 WL 61505, at *1–2 (E.D.N.Y. Jan. 7,

2005) (citations and internal quotation marks omitted).

         Here, the Court similarly finds that Geiger’s request to amend should be denied.

First and foremost, the deadline for amending pleadings was April 14, 2014, more than

three years before Geiger filed the subject motion for summary judgment. Geiger has not

offered any good cause for failing to comply with that deadline, and the motion to amend

may therefore be denied for that reason alone.13 Indeed, as noted earlier, the Court

previously denied Plaintiff’s motion to amend his Complaint for the same reason. See,

Decision and Order [#20] at p. 7. Moreover, the case would be delayed and Plaintiff would

be prejudiced if Geiger were permitted to raise this affirmative defense for the first time

after discovery has been completed. Accordingly, Geiger’s request to amend is denied,


         13
           See, Scheduling Order [#8] at p. 3 (“No extension of the above cutoff dates will be granted except upon
written application, made prior to the cutoff date, showing good cause for the extension.”) (emphasis in original); see
also, Def. Reply Affirmation of Attorney Rulison (“Counsel drafting this motion was not the same Counsel to file the
Answer and therefore cannot state why failure to exhaust was not pled.”).

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the affirmative defense under § 1997e(a) is deemed waived, and the portion of Geiger’s

summary judgment motion that is based on that affirmative defense is denied.

       Whether Geiger’s Use of Force Amounts to a Constitutional Violation

       Geiger contends that even assuming that he yelled at Plaintiff and grabbed his

throat in the manner alleged, such facts are insufficient to state an 8th Amendment

violation. The Court understands Geiger to argue that Plaintiff cannot satisfy the objective

component of an 8th Amendment excessive force violation. The applicable legal principles

are clear:

       The Eighth Amendment prohibits the infliction of cruel and unusual
       punishments, including the unnecessary and wanton infliction of pain. When
       the State takes a person into its custody and holds him there against his will,
       the Constitution imposes upon it a corresponding duty to assume some
       responsibility for his safety and general well being.

       To establish a constitutional violation under the Eighth Amendment, an
       inmate must meet both an objective and a subjective requirement. To meet
       the objective requirement, the alleged violation must be sufficiently serious
       by objective standards. The objective component is context specific, turning
       upon contemporary standards of decency. To meet the subjective
       requirement, the inmate must show that the prison officials involved had a
       wanton state of mind when they were engaging in the alleged misconduct.

       However, the malicious use of force to cause harm constitutes an Eighth
       Amendment violation per se whether or not significant injury is evident. This
       result follows because when prison officials maliciously and sadistically use
       force to cause harm, contemporary standards of decency always are
       violated. Nevertheless, a de minimis use of force will rarely suffice to state
       a constitutional claim. Not every push or shove, even if it may later seem
       unnecessary in the peace of a judge's chambers, violates a prisoner's
       constitutional rights.

Griffin v. Crippen, 193 F.3d 89, 91 (2d Cir. 1999) (citations and internal quotation marks

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omitted). “An inmate who complains of a ‘push or shove’ that causes no discernible injury

almost certainly fails to state a valid excessive force claim.” Wilkins v. Gaddy, 559 U.S. 34,

38, 130 S. Ct. 1175, 1178, 175 L. Ed. 2d 995 (2010) (citation omitted).

       The foregoing principles establish that even if a corrections officer subjectively acts

with a malicious or sadistic purpose, no constitutional violation occurs if the use of force

is nevertheless de minimis. Otherwise, the quoted language above from Griffin v. Crippen

beginning with “Nevertheless . . .” would be meaningless. See also, Cole v. Fischer, 379

Fed.Appx. 40, 42 (2d Cir. May 27, 2010) (“The malicious use of force to cause harm

constitutes a per se Eighth Amendment violation regardless of whether there is a

significant injury. However, the prohibition against cruel and unusual punishment does not

extend to the de minimis use of force, provided that such force is not of a sort repugnant

to the conscience of mankind.”) (quoting Baskerville v. Mulvaney, 411 F.3d 45, 48 (2d

Cir.2005), emphasis added, citations and internal quotation marks omitted); see also,

Wilkins v. Gaddy, 130 S.Ct. at 1178 (“Not every malevolent touch by a prison guard gives

rise to a federal cause of action.”) (emphasis added, citation and internal quotation marks

omitted). The only exception to this would be where the use of force, while de minimis, is

nevertheless of the sort that is repugnant to the conscience of mankind. Id. Indeed, in

Baskerville v. Mulvaney, the Second Circuit rejected the argument that a malicious use of

force constitutes a per se 8th Amendment violation even where the force used was de

minimis and not otherwise repugnant to the conscience of mankind. Id., 411 F.3d at 48.

       In the instant case, there may well be issues of fact as to Geiger’s subjective




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intent.14 However, for purposes of the instant motion, there are no triable issues of fact

with regard to the amount and type of force that Geiger used: Geiger grabbed Plaintiff’s

throat with one hand and pushed him back on his bunk, causing Plaintiff to have

momentary difficulty breaching.15 Geiger did not actually prevent Plaintiff from breathing,

nor did he slap, punch or kick Plaintiff. The whole incident lasted a minute or less, and

immediately thereafter Plaintiff went back to sleep.                                   Plaintiff sustained faint

redness/bruising to his throat that disappeared after a day, and did not seek medical

attention.16

         The Court finds as a matter of law that such force was de minimis and not repugnant

to the conscience of mankind. It is difficult to find other court decisions with almost

identical facts, since the force used here was so limited, both with respect to amount and

duration. However, even in the 4th Amendment excessive force context, which requires

a lesser showing to establish a constitutional violation than under the 8th Amendment,17

          14
            Plaintiff admits that he provoked Geiger, initially by failing to comply with Geiger’s order to uncover his
light, and then by calling Geiger a cocksucker. Plaintiff further admits that while Geiger was holding him down,
Geiger was yelling that Plaintiff needed to show respect to corrections officers and obey the jail’s rules. On the other
hand, Plaintiff was locked in his cell and posed no threat of physical harm to anyone.

         15
           According to Plaintiff, Geiger held him in that position only long enough to yell a handful of obscenities at
him, which would not have taken long. See, Docket No. [#31-2] at p. 17(Transcript p. 20) (“He was like, “You need to
get some respect. I don’t know who the fuck you think you are.” He said, “You’re nothing,” and then grabbed me by
the neck as I’m lying down, pushes me down until it hits my face and continued screaming. . . . [He was yelling and
screaming that] I need to learn my place and so as I’m told and that I’m a piece of shit, a faggot and – I don’t know. I
guess he was expecting something more out of me, but I just laid there, so he kind of gave up.”).

          16
            The Supreme Court has explained that district courts must “decide excessive force claims based on the
nature of the force rather than the extent of the injury,” though “[t]he extent of injury may . . . provide some indication
of the amount of force applied” and the purpose for which the force was used. Wilkins v. Gaddy, 130 S.Ct. at 1178
(citing Hudson).

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             See, e.g., D'Attore v. New York City Dep't of Correction, No. 10 CIV. 815 JSR MHD, 2012 WL 4493977,
at *13 (S.D.N.Y. Sept. 27, 2012) (“In assessing a force claim, context is, of course, crucial. It is thus essential for the
court to avoid conflating Eighth Amendment excessive-force analyses appropriate to the prison context with Fourth
Amendment excessive-force claims applicable in non-prison contexts. Generally, the standard for assessing uses of
force is somewhat more lenient when the force is applied to a prisoner rather than a free member of the public.”)
(citation omitted), report and recommendation adopted, No. 10 CIV. 815 JSR, 2012 WL 5951317 (S.D.N.Y. Nov. 28,
2012); see also, Jackson on Behalf of Z.J. v. City of Middletown, No. 3:11-CV-00725 (JAM), 2017 WL 2218304, at
*4 (D. Conn. May 19, 2017) (“[T]he governing standard under the Eighth Amendment is even less protective of a
plaintiff than the standard under the Fourth Amendment.”) (citations and internal quotation marks omitted).



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Judge D’Agostino in the Northern District recently granted summary judgment for a police

officer who, while attempting to get an arrestee to identify himself, “tightly gripped” the

arrestee’s throat while threatening to strike him with a police radio if he did not answer.

See, Konovalchuk v. Cerminaro, No. 9:11-CV-01344 MAD, 2014 WL 272428, at *16

(N.D.N.Y. Jan. 24, 2014) (“Konovalchuk”) (“Konovalchuk contends that Carroll subjected

him to excessive force by gripping his neck while threatening him verbally and with a heavy

police radio. First, verbal abuse on its own does not rise to the level of a constitutional

violation. Second, merely gripping the neck is considered de minimis use of force that

does not amount to a Fourth Amendment violation.”) (citation and internal quotation mark

omitted); see also, id. at *24 (“[H]aving his neck tightly gripped constitutes de minimis use

of force[.]”).

        Similarly, in the 8th Amendment prisoner context, Judge Curtin granted summary

judgment for a corrections officer who choked and slapped an inmate for “giving him the

evil eye,” finding that the use of force was de minimis. See, Felder v. Diebel, No.

10-CV-343 JTC, 2012 WL 6690239, at *5 (W.D.N.Y. Dec. 21, 2012) (“Felder”) (“Plaintiff

maintains that CO Diebel grabbed him by the throat and slapped him twice. The medical

report completed after the incident noted an absence of visible injuries, with no redness

or scratches. . . . Although the court must view the facts in the light most favorable to the

plaintiff, plaintiff has not met his burden of showing specific facts that would raise a

genuine issue for trial. . . . While plaintiff testified that he “saw stars” and was “woozy”

following the alleged assault, there is no indication that he sought medical treatment until

two days later. Plaintiff's medical records from July 20, 2009 indicate no signs of injuries

consistent with his allegations and no medical treatment. Accordingly, the court finds that

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the amount of force used in this case was de minimis.”).

       The facts of the instant case are less egregious than those of either Konovalchuk

or Felder, both with regard to the amount of force used and the circumstances under which

the alleged assaults took place. Accordingly, the Court finds that the force allegedly used

by Geiger is, from a Constitutional standpoint, de minimis and not repugnant to the

conscience of mankind. Geiger is therefore entitled to summary judgment on Plaintiff’s 8th

Amendment claim under Section 1983, which was the only remaining claim in this action.

                                     CONCLUSION

       Defendant’s motion for summary judgment [#31] is granted and this action is

dismissed. The Clerk of the Court is directed to close this action.

       SO ORDERED.

Dated: Rochester, New York
      January 26, 2018
                                          ENTER:



                                          /s/ Charles J. Siragusa
                                          CHARLES J. SIRAGUSA
                                          United States District Judge




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